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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN


Dustin Shirley, on behalf of himself and         Case No. 2:21-cv-13007-SFC-KGA
all others similarly situated
                                                 Hon. Judge Sean F. Cox
                 Plaintiff,                           U.S. District Judge

v.                                               Hon. Kimberly G. Altman
                                                      U.S. Magistrate Judge
Rocket Mortgage, LLC,

                 Defendant.


STIPULATION AND ORDER FOR EXTENSION OF TIME FOR ROCKET
        MORTGAGE, LLC TO RESPOND TO COMPLAINT

      It is hereby agreed by and between Rocket Mortgage, LLC (“Rocket

Mortgage”) and Plaintiff Dustin Shirley (“Plaintiff”) that Rocket Mortgage shall

have up to and including February 28, 2022 by which to respond to Plaintiff’s

Complaint.

         The Compliant was originally served on January 6, 2022, and Rocket

Mortgage’s response is currently due January 27, 2022. This is Rocket Mortgage’s

first such request for an extension to respond to the Complaint, and is sought in good

faith as a result of conflicts with a previously scheduled trial and vacation for Rocket

Mortgage’s counsel. A proposed order to this effect is being submitted concurrently

with this stipulation.

Dated:    January 14, 2022
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Respectfully submitted,


/s/Sergei Lemberg (with permission)             _/s/ Jeffrey B. Morganroth____________
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                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on January 14, 2022, I electronically filed the

foregoing with the Clerk of Court by using the CM/ECF system, which will send a

notice of electronic filing to all counsel of record.



                                             /s/ Jeffrey B. Morganroth
                                            Jeffrey B. Morganroth




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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN


Dustin Shirley, on behalf of himself and       Case No. 2:21-cv-13007-SFC-KGA
all others similarly situated
                                               Hon. Judge Sean F. Cox
                Plaintiff,                          U.S. District Judge

v.                                             Hon. Kimberly G. Altman
                                                    U.S. Magistrate Judge
Rocket Mortgage, LLC,

                Defendant.


        ORDER GRANTING EXTENSION OF TIME FOR ROCKET
          MORTGAGE, LLC TO RESPOND TO COMPLAINT

      Upon consideration of the stipulation filed by the parties, it is ORDERED that

Defendant, Rocket Mortgage, LLC shall be GRANTED an extension of time to

respond to the Plaintiff’s complaint until February 28, 2022.



Dated: January 14, 2022                      s/Sean F. Cox
                                             Sean F. Cox
                                             U. S. District Judge
